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                 IN THE UNITED STATES DISTRICT COURT FOR
                 THE DISTRICT OF THE DISTRICT OF COLUMBIA
____________________________________
                                     )
UNITED STATES,                       )
                                     )
      v.                             )   Crim. No. 21cr268
                                     )   Hon. Carl J. Nichols
JEFFREY McKELLOP,                    )
      Defendant.                     )
____________________________________)

                               MOTION TO COMPEL DISCOVERY

        Comes now Defendant Jeffrey McKellop, by counsel, and moves the Court to compel the

disclosure by the government of all documentation in its possession reflecting the presence on

January 6, 2021, at, in or near the Capitol, of undercover Federal Bureau of Investigation agents

or assets (e.g., Confidential Informants), their purpose and any consequence of their presence.

        Undersigned has been reliably informed that FBI management sent an email shortly after

January 6th, to all personnel assigned to the Washington Field Office, instructing that any such

personnel on, in or near the Capitol on January 6, 2021, “self report” to their chain of command

for interview.1 Upon information and belief, this email did not differentiate between personnel

present in their official and in their individual capacities – implying that Special Agents may

have been present in a covert official capacity without the awareness of the leadership of the

D.C. Field Office or of each other. The FBI has already been revealed as having infiltrated the

Proud Boys – prominent catalysts of the day’s events. 2

        To the extent that rioters were cajoled or instigated into trespass, disorder or violence by

individuals or groups comprising law enforcement officials or people acting at the behest or


1
  Two former FBI Special Agents have orally assured undersigned separately and independently that the subject
email was sent.
2
  Among Those Who Marched Into the Capitol on January 6: An F.B.I. Informant, Alan Feuer, New York Times,
October 18, 2021. www.nytimes.com.


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under the direction of law enforcement, they are entitled to the affirmative defense of Estoppel

by Invitation.

        Just prior to the breach of the Capitol, President Trump exhorted the assembled protesters

at the Ellipse. He said, in part:

                 “These people [referring to his crowd while addressing media]
                 are not going to take it any longer.”

                 “They rigged an election.”

                 “We won this election and we won it by a landslide.”

                 “All of us here today do not want to see our election
                 victory stolen.”

                 “We will never give up.”

                 “Our country has had enough and we will not take it
                 anymore.”

                 “We will stop the steal.”

                 “If you don’t fight like hell, you’re not going to have a
                 country anymore.”

                 “Peacefully and patriotically, make your voices heard.”

                 “We are going to the Capitol.”

Capitol riots: Did Trump’s words at rally incite violence? BBC News, January 13, 2021,
www.bbc.com.

        Whether or not the penultimate sentence could reasonably be expected to calm the

already agitated crowd, the sitting President of the United States told the crowd to go the Capitol

and “Stop the Steal.”

                 “A criminal defendant may assert an entrapment-by-estoppel
                 defense when the government affirmatively assures him that
                 certain conduct is lawful, the defendant thereafter engages
                 in the conduct in reasonable reliance on those assurances,
                 and a criminal prosecution based upon the conduct ensues.



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United States v. Aquino-Chacon, 109 F. 3d 936, 938-39 (4th Cir. 1997) (citing Raley v. Ohio,
360 U.S. at 423, 438-39 (1959); United States v. Clark, 986 F.2d 65, 69 (4th Cir. 1993); United
States v. Howell, 37 F.3d 1197, 1204 (7th Cir. 1994)).

       The January 6th rioters had been told by no less than the highest authority in the land to

go the Capitol. They unquestionably had the right to do just that. The question that needs to be

answered, however, is how and why that convergence devolved into a riot. To the extent law

enforcement or its proxies instigated, encouraged, or abetted that sad progression, the

government is estopped from seeking to

                 “convict a citizen for exercising a privilege which the
                 state clearly had told him was available to him.

Raley, at 438.

       According to the New York Times, at least one Proud Boy was reporting to his FBI

handler as he effected the breach of the Capitol. In practical effect, he was being “handled” by

the FBI as he led the charge. How many other rioters were similarly impelled by FBI Special

Agents or their proxies as they turned the day’s events into the debacle it became? It would

appear the D.C. Field Office would like to know.

       So would Defendant.

                                                       Respectfully submitted,

                                                       JEFFREY McKELLOP
                                                       By Counsel

                                                       _____/s/____________
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                                                     Counsel for the Defendant

                                Certificate of Electronic Service

       I hereby certify that on November 7, 2022, I electronically filed the foregoing with the
Clerk of Court using the CM/ECF System, with consequent service on all parties

                                                     ____/s/_____________
                                                     John C. Kiyonaga




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